Mr. A. Glenn Vasser McKenzie, McRae, Vasser  Barber, PLLC 122 East Second Street P.O. Box 599 Prescott, AR 71857-0599
Dear Mr. Vasser:
This is in response to your request for my review and approval of an interlocal agreement entitled "Interlocal Cooperation Agreement for Prescott-Nevada County Library and Education Center," pursuant to A.C.A. § 25-20-104(f) (part of the Interlocal Cooperation Act).
According to my review, the Agreement is in proper form and compatible with the laws of this state. It is therefore hereby approved.
Sincerely,
MARK PRYOR Attorney General
MP:EAW/cyh